Case 24-11420-pmm                 Doc 19-4 Filed 11/15/24 Entered 11/15/24 12:34:10                                            Desc
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                              UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF PENNSYLVANIA

Velma A. Green,                                                    Case No. 24-11420-pmm
                                                                   Chapter 13
                                                    Debtor.

                      Order Granting Motion to Determine Value of Property

       And now, after consideration of the Motion to Determine Value of Property filed by the
Debtor, the court finds that:

        A. Notice of the Motion and opportunity for hearing was properly served on OneMain
           Financial Group LLC by the Debtor.

        B. The replacement value of the 2006 Chevrolet Traverse, VIN 1GNEV23D49S109541
           (“the Car”), without deducting costs of sale or marketing, was $3,926.00 on April 29,
           2024, and a retail merchant would charge that amount for the Car on this date based on
           its age and condition.

        For those reasons, it is hereby ORDERED that:

        1. The Motion is GRANTED.

        2. Claim No. 15 is modified as follows:

           Secured .............................................................................................................$3,926.00

           Priority Unsecured ..................................................................................................$0.00

           Non-Priority Unsecured .................................................................................$16,535.03

           Total Claim Amount .......................................................................................$20,461.03

        3. The secured component of Claim No. 15 must be paid at an interest rate of 6.69%.




Date:
                                                                 Patricia M. Mayer
                                                                 U.S. Bankruptcy Judge
